Case 9:19-cv-80371-RLR Document 10 Entered on FLSD Docket 04/18/2019 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 9:19-cv-80371-ROSENBERG

 ERICA BUFORD.,

         Plaintiff,

 v.

 OCWEN LOAN SERVICING, LLC,

       Defendant.
 _______________________________/

                      ORDER STAYING CASES PENDING FCC GUIDANCE

         This cause comes before the Court on the parties’ Joint Notice of Pending Similar Actions,

 DE 7. For all of the reasons set forth in related case 18-CV-81394, docket entries 40 and 41, this

 case is hereby STAYED pending forthcoming guidance from the FCC as more fully discussed in

 the aforementioned docket entries. This stay shall run for a period of three months running from the

 date of rendition of this Order. The parties are ORDERED to file a joint status report at the earlier

 of (1) guidance from the FCC or (2) the conclusion of the three-month stay imposed by this Order.

 The Clerk of the Court shall CLOSE THIS CASE for administrative purposes. This closure shall

 not affect the merits of any party’s claim. All pending motions and deadlines are TERMINATED.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 18th day of April,

 2019.



                                                      ________________________________
                                                      ROBIN L. ROSENBERG
 Copies furnished to Counsel of Record                UNITED STATES DISTRICT JUDGE
